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    Counsel for UBS Securities LLC and UBS
    AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1 §                         Case No. 19-34054-SGJ11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020-sgj
                                    Plaintiffs,              §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                                 NOTICE OF DEPOSITION

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure made applicable to this proceeding by Rule 9016 of the Federal Rules of Bankruptcy

Procedure, Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”) in the

above-captioned adversary proceeding (the “Adversary Proceeding”) shall take the deposition of

Jean Paul Sevilla, in connection with Plaintiffs’ Motion for a Temporary Restraining Order and

Preliminary Injunction against Highland Capital Management, L.P. (“Highland” or the “Debtor”)

[Adv. Pro. Docket No. 4] (the “Motion”) on July 21, 2021, beginning at 9:30 a.m. Central Time,

or at such other day and time as counsel for UBS, counsel for the Debtor, and Mr. Sevilla agree.

The deposition will be taken at the offices of Butler Snow LLP, 2911 Turtle Creek Blvd., Suite

1400, Dallas, Texas, 75219, and by use of Interactive Realtime. The deposition will be videotaped

and made available for concurrent remote participation via an online platform.

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Dated: July 12, 2021                       Respectfully submitted,

                                           /s/ Martin Sosland

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                                CERTIFICATE OF SERVICE

       I, Martin Sosland, certify that the foregoing Notice of Deposition was filed electronically

through the Court’s ECF system and served electronically on all parties enlisted to receive service

electronically.

       Dated: July 12, 2021.

                                                     /s/ Martin Sosland
                                                     Martin Sosland
